           Case 2:18-bk-21560-VZ                   Doc 65 Filed 12/18/19 Entered 12/18/19 11:59:53                                      Desc
                                                    Main Document    Page 1 of 4



 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
 Email Address


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      Individual appearing without an attorney
      Attorney for: Movant

                                          UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                      CASE NO.: 2:18-bk-21560-VZ
                                                                             CHAPTER: 13
 SALVADOR PEREZ
                                                                             NOTICE OF LODGMENT OF ORDER IN
                                                                             BANKRUPTCY CASE RE:
                                                                         MOTION TO MODIFY THE BANKRUPTCY COURT’S MAY
                                                                         17, 2019 ORDER GRANTING RELIEF FROM
                                                                         AUTOMATIC STAY UNDER 11 U.S.C. § 362;
                                                               Debtor(s) DECLARATION OF MINH T. NGUYEN


PLEASE TAKE NOTE that the order titled ORDER DENYING CREDITOR BELINDA JARVIS’ MOTION TO
MODIFY THE BANKRUPTCY COURT'S MAY 17, 2019 ORDER GRANTING RELIEF FROM AUTOMATIC
STAY was lodged on December 18, 2019 and is attached. This order relates to the motion which is docket
number 61.




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                      Page 1                        F 9021-1.2.BK.NOTICE.LODGMENT
                                                                              Case 2:18-bk-21560-VZ      Doc 65 Filed 12/18/19 Entered 12/18/19 11:59:53             Desc
                                                                                                          Main Document    Page 2 of 4



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                                                                                 email: minh@nguyenlawyers.com
                                                                               8
                                                                                 Attorneys for Plaintiff BELINDA JARVIS
                                                                               9
                                                                                                           UNITED STATES BANKRUPTCY COURT
                                                                              10
                                                                                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                              11
                 (562) 283‐5415 ˜ (562) 283‐5416 [FAX] ˜ (855) NGUYEN‐L[AW]




                                                                                                                    LOS ANGELES DIVISION
                                                                              12
                          3777 LONG BEACH BOULEVARD, THIRD FLOOR
NGUYEN LAWYERS

                                LONG BEACH, CALIFORNIA 90807




                                                                              13 In Re                                               Case No. 2:18-bk-21560-VZ
                                    A LAW CORPORATION




                                                                              14
                                                                                 SALVADOR PEREZ, DBA, FDBA DESIGN                    Assigned to the Honorable Vincent Zurzolo
                                                                              15 UPHOLSTERY,
                                                                                                                                     Chapter 13
                                                                              16          Debtor
                                                                                                                                     ORDER DENYING CREDITOR BELINDA
                                                                              17                                                     JARVIS’ MOTION TO MODIFY THE
                                                                              18                                                     BANKRUPTCY COURT'S MAY 17, 2019
                                                                                                                                     ORDER GRANTING RELIEF FROM
                                                                              19                                                     AUTOMATIC STAY

                                                                              20                                                     Date: 12-17-2019
                                                                                                                                     Time: 11:00 am
                                                                              21                                                     Place: 255 E Temple St., Los Angeles CA
                                                                                                                                     Courtroom: 1368
                                                                              22

                                                                              23         On November 21, 2019, Creditor Belinda Jarvis filed a Motion to Modify the Bankruptcy
                                                                              24 Court’s May 17, 2019 Order Granting Relief from Automatic Stay under 11 U.S.C. § 362. (Docket

                                                                              25 #61.) The motion was unopposed. On December 17, 2019, the Court heard Ms. Jarvis’ motion.

                                                                              26 Baruch C. Cohen, Esq. and Christine J. Gonong, Esq. appeared on behalf of Ms. Jarvis. No other

                                                                              27 appearances were made.

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                                                                              Case 2:18-bk-21560-VZ       Doc 65 Filed 12/18/19 Entered 12/18/19 11:59:53              Desc
                                                                                                           Main Document    Page 3 of 4



                                                                               1         The Court, having considered the pleadings, including the evidence attached hereto, makes

                                                                               2 its Order as follows:

                                                                               3         IT IS HEREBY ORDERED that Movant’s Motion to Modify the Bankruptcy Court’s

                                                                               4 May 17, 2019 Order Granting Relief from Automatic Stay is DENIED as moot. This Court

                                                                               5 previously dismissed Debtor Salvador Perez’s Chapter 13 bankruptcy case. As a result of such

                                                                               6 dismissal, the automatic stay, pursuant to 11 U.S.C. § 362(a)(1), has been nullified. Accordingly,

                                                                               7 the provision in the May 17, 2019 Order of this Court that prevented Ms. Jarvis from obtaining

                                                                               8 recovery beyond Mr. Perez’s insurance coverage of $1,000,000.00 is no longer in effect.

                                                                               9 Therefore, Ms. Jarvis may seek full recovery from the Debtor as allowed by law without the

                                                                              10 limitations imposed in the May 17, 2019 order.

                                                                              11         IT IS SO ORDERED.
                 (562) 283‐5415 ˜ (562) 283‐5416 [FAX] ˜ (855) NGUYEN‐L[AW]




                                                                              12
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                                LONG BEACH, CALIFORNIA 90807




                                                                              13                                                  ###
                                    A LAW CORPORATION




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        Case 2:18-bk-21560-VZ                   Doc 65 Filed 12/18/19 Entered 12/18/19 11:59:53                                      Desc
                                                 Main Document    Page 4 of 4



                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
December 18, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

Julian K Bach (CR)     Julian@Jbachlaw.com, julianbach@sbcglobal.net
Cynthia Grande (DB)    ecf@thegrandelawfirm.com, cynthia.grande@gmail.com, r60020@notify.bestcase.com;
                       1941l@notices.nextchapterbk.com
Bernard Hansen (DF) bernardmhansen@sbcglobal.net
Danielle Vukovich (DF) dvukovich@tysonmendes.com, hallen@tysonmendes.com
Mark S Krause (CR)     bankruptcy@zbslaw.com, mkrause@ecf.courtdrive.com
Nancy K Curry (TR)     TrusteeECFMail@gmail.com
US Trustee (LA)        ustpregion16.la.ecf@usdoj.gov

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On December 18, 2019, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Salvador Perez, 316 N. Avalon Blvd., Wilmington, CA 90744


                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, December 18, 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Personal Delivery:
Hon. Vincent P. Zurzolo, USBC Central District of California, 255 E. Temple Street, Suite 1360, Los Angeles CA 90012

Email: Minh T. Nguyen, Esq. minh@nguyenlawyers.com

                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 December 18, 2019                    Baruch C. Cohen, Esq.                                   /s/ Baruch C. Cohen
 Date                         Printed Name                                                    Signature


       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                   Page 2                        F 9021-1.2.BK.NOTICE.LODGMENT
